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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


Civil Action No. ______________

OUTSIDE INTERACTIVE, INC., a Delaware Limited Liability Company,

         Plaintiff,
v.

JOSHUA BOLIN, an individual, and WESTLAKE SECURITIES, LLC, a Texas Limited
Liability Company,

         Defendants.



                              COMPLAINT AND JURY DEMAND



         Plaintiff Outside Interactive, Inc. d/b/a Outside (“Outside”), for its Complaint against

Joshua Bolin (“Bolin”) and Westlake Securities, LLC (“Westlake Securities” and with

Bolin, together, “Defendants”) alleges as follows:

                                     Nature of the Action

         1.      This is a civil action for an injunction, damages, and other appropriate relief

arising out of Defendants’ cybersquatting, trademark infringement, trademark

counterfeiting, and false designation of origin in violation of the Lanham Act, 15 U.S.C.

§ 1051 et seq., relating to Defendants’ efforts to use the domain name, outside.com (the

“Infringing Domain Name”), which misappropriates Outside’s intellectual property—

including its long-registered OUTSIDE® trademark and family of marks—as a vehicle for

ransom. Specifically, Defendants launched a website (the “Infringing Website”) that


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purports to offer the very same services as Outside under the Infringing Domain Name,

resulting in—by Defendants’ own admission—confusion by the public.

         2.   Since 1976, Outside has been the world’s leading provider of active lifestyle

content, video, events, and services for outdoor enthusiasts and now reaches 80 million

consumers across its network of 25 media, digital, and technology platforms. Given how

seriously Outside takes protection of its intellectual property, Defendants believed

Outside would pay any price to stop a potential competitor from holding the Infringing

Domain and the confusion that Defendants intentionally manufactured. Defendants made

frequent attempts to force Outside into agreeing including, for example, placing time

deadlines on Outside to accept their offer, or either lose the Infringing Domain Name to a

third party-buyer or face Defendants’ own plan to use the Infringing Domain Name to

directly compete with Outside illegally. Outside was unwilling to bend to their demands—

which amount to illegal cybersquatting.

         3.   Defendants’ actions have caused, and unless enjoined, will continue to

cause, irreparable harm to Outside and a substantial loss of goodwill in its valuable

intellectual property.

                                Jurisdiction and Venue

         4.    This Court has original jurisdiction over the subject matter of the claims

arising under the Lanham Act, 15 U.S.C. § 1051, et seq., pursuant to 15 U.S.C. § 1121

and 28 U.S.C. §§ 1331 and 1338.

         5.   “Because neither the Lanham Act, 15 U.S.C. § 1051 et seq., nor the Anti–

Cybersquatting Consumer Protection Act (‘ACPA’), 15 U.S.C. § 1125(d), provide for



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nationwide service of process, the court looks to the Colorado long-arm statute to

determine whether personal jurisdiction is proper.” CrossFit, Inc. v. Jenkins, 69 F. Supp.

3d 1088, 1094 (D. Colo. 2014). Colorado's long arm statute provides that a defendant is

subject to personal jurisdiction where he or she engages in the “transaction of any

business within this state” or commits a “tortious act within this state.” Id.; Colo. Rev. Stat.

§ 13–1–124. Defendants have admitted that Bolin owns the Infringing Domain Name and

has both offered it for sale to Outside, a Colorado company, and threatened to sell the

Infringing Domain Name should Outside fail to meet Defendants’ demands. Westlake

Securities also purports to do business in Denver on its website. As a result of doing

business through the Infringing Domain Name and subsequent attempts to extort Outside,

Defendants are subject to personal jurisdiction in Colorado. See CrossFit, 69 F. Supp. 3d

at 1094 (personal jurisdiction warranted as a result of defendant’s business in Colorado

and “commission of a tort in Colorado,” namely violation of the ACPA); Your True Nature,

Inc. v. JF Show Store, No. 23-CV-00107-CNS-NRN, 2023 WL 2359234, at *2 (D. Colo.

Feb. 14, 2023) (“[t]he Court finds that it has personal jurisdiction over the Defendants

because said Defendants target their business activities toward consumers within

Colorado via their digital storefronts.”).

         6.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because

Defendants are subject to personal jurisdiction in this judicial district and/or because a

substantial part of the events giving rise to this action occurred in this judicial district.




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                                         The Parties

         7.    Plaintiff Outside Interactive, Inc. is a Delaware corporation with its principal

place of business located at 1600 Pearl St., Suite 300, Boulder, Colorado.

         8.    Upon information and belief, Defendant Joshua Bolin is an individual

residing in Austin, Texas. Bolin currently owns and controls a website with the domain

name outside.com.

         9.    Upon information and belief, Defendant Westlake Securities, LLC is a Texas

Limited Liability Company with its principal place of business located at 2700 Via Fortuna,

Suite 250, Austin, Texas and does business in Denver, Colorado.

                                        Background

         A.    Outside’s Intellectual Property Rights

         10.   For decades, Outside has been a leading provider of active lifestyle content,

video, events, and services for outdoor enthusiasts. Outside currently reaches 80 million

consumers across its network of 25 media, digital, and technology platforms.

         11.   Outside has been using the trademark OUTSIDE® for informational

publications pertaining to recreation since 1976, before the internet was founded.

Outside’s trademark rights and portfolio have since grown dramatically. It launched its

magazine Outside, which provides information in the fields of outdoor sports, fitness, and

recreational activities, in November 1994. Thereafter, it expanded with an online presence

and television channel in the same fields in January 1995; travel, transportation, and retail

store offerings in 1996; a book imprint in 2000; and travel agency services at least as

early as January 2014—not to mention various other goods and services under dozens



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of sub-brands offered by, and recognized as affiliated with, Outside. This includes “Scout

– powered by Outside AI,” Outside’s AI-powered adventure concierge, which launched in

January 2024.

         12.   Outside owns all right, title, and interest in and to the marks in its

OUTSIDE® family of marks, including but not limited to OUTSIDE®, OUTSIDE BOOKS®,

OUTSIDE FILMS®, OUTSIDE GO®, OUTSIDE ONLINE®, OUTSIDE TELEVISION®,

OUTSIDE TV®, OUTSIDE EVENTS®, and various designs and stylizations thereof as

shown below:




(collectively, the “OUTSIDE® Marks ”).

         13.   As a result of (a) Outside’s consistent and exclusive use of the OUTSIDE®

Marks, (b) Outside’s extensive advertising of its services offered under the OUTSIDE®

Marks, and (c) the mass popularity and extensive reach of Outside platforms, Outside

has created substantial goodwill in its OUTSIDE® Marks across the United States (and

beyond).

         14.   To further protect its valuable names and brand, Outside has obtained

multiple federal trademark registrations for the OUTSIDE® Marks (the “Registrations”)

including, but not limited to, U.S. Registration Nos. 1507125, 2012332, 2025585,

2030603, 2304468, 2539895, 2546325, 2648063, 4672364, 4819937, 5292743,

5396636, 6073889, 6226313, 6850291, 7232896, and 7232897 for the goods and




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services identified in Exhibit A. Outside obtained the first of these Registrations in 1988

based on a first use date in commerce of November 1, 1976.

         15.   As identified in the Registrations, Outside has offered and continues to offer

a wide variety of online services in connection with the OUTSIDE® Marks, including, for

example: “[p]roviding information in the field of outdoor sports, fitness and recreational

activities by means of a global computer network” since 1995 (Reg. No. 2648063); “[o]n-

line retail store services on a global computer network featuring outdoor sporting

equipment and apparel” since 1996 (Reg. No. 2546325); “[o]nline services on a global

computer network, namely, providing for the purchase of transportation arrangements as

part of adventure packages” since 1996 (Reg. No. 2546325); “Leasing access time to a

computer database in the nature of a computer bulletin board in the field of outdoor sports

and recreation” since 1996; and “GPS navigation services” since 2022 (Reg. No.

7232896).

         16.   The Registrations for the OUTSIDE® Marks are in full force and effect, and

the vast majority have become incontestable pursuant to 15 U.S.C. § 1065.

         B.    Defendants’ Unlawful and Infringing Actions

         17.   The Infringing Domain Name was first registered in 1993, after OUTSIDE®

became a registered trademark of Outside, by a third party other than Defendants. The

Infringing Domain Name continued to transfer hands until Defendant Bolin ultimately

came to own it.

         18.   Upon information and belief, Bolin is a co-founder and co-chief executive

officer of StrategyWerks, a start-up IT company that offers web and application design



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services. StrategyWerks’ website refers to Bolin as a “serial entrepreneur” who was “often

frustrated by the lack of talent and commitment he found from developers,” resulting in

his founding of StrategyWerks.

         19.   In late April 2024, Bolin through David Hill, a managing director for

Defendant Westlake Securities, which purported to act on behalf of Bolin, contacted

Outside with a proposal: to sell the Infringing Domain Name to Outside. While Defendants

continued to pitch to Outside, Outside discovered that in addition to Bolin’s plan to

commercialize the Infringing Domain Name by trying to sell it, Bolin had launched the

Infringing Website.

         20.   It became apparent that Defendants intended to extort Outside through this

sale. Outside and Defendants engaged in a series of conversations from April to June

2024, attempting to negotiate a potential purchase at a reasonable price, one that would

have to be much lower than the price of suing to obtain the Infringing Domain Name.

During the course of these discussions, Defendants claimed the Infringing Website

offered various services, including an AI-driven search engine1 for outdoor activities,

which they expressly indicated would threaten what Defendants incorrectly characterized

as Outside’s “old-school publisher”-based business model, and that acquiring them (at an

exorbitant price) could “save Outside’s business.” Defendants made it clear that the

Infringing Website would take traffic and readers from Outside and those familiar with the

Outside brand, capitalizing and free-riding on Outside’s reputation and brand, which was



1 The operation of the Infringing Website bears a striking resemblance to ChatGPT and

may reflect another party’s large language model (LLM).

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likely to confuse some segment of the public into thinking that Outside was associated

with the Infringing Website. Indeed, they admitted that individuals had mistakenly

contacted them through emails at the Infringing Domain Name, including providing

sensitive information, on the false belief that they were corresponding with Outside.

Defendants further explained that the Infringing Website had received significant traffic

on the back of the Outside name and brand, thereby clearly capitalizing on the confusion

of consumers.

         21.   Defendants demanded that because of this confusion—created as a result

of their unauthorized trading on Outside’s goodwill in the OUTSIDE® Marks—Outside

should pay a staggering number of between 15 million and 25 million dollars to

purchase the Infringing Domain Name. Defendants postured that other buyers (including

a “large retailer” that purportedly would find such price “immaterial’) had expressed

interest in purchasing the Infringing Domain Name. Defendants leveraged this point to

claim that unless Outside met Defendants’ extortionate price, they would either proceed

with their competing “AI-driven” business model or the Infringing Domain Name would be

lost to another buyer. Defendants even went so far as imposing a time window on certain

offers to purchase it; otherwise they would continue with their infringing business or sell

the Infringing Domain Name to a competitor—tantamount to holding the domain name as

a type of ransom.

         22.   A review of the Infringing Website makes clear how Defendants

manufactured the confusion underlying their demands. At least until around early August

(shortly after Defendants’ receipt of a communication from Outside’s counsel), the



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Infringing Website purported to, and did, offer the very same services that Outside offers

in connection with its OUTSIDE® Marks. The “About Us” page of the Infringing Website

page states “[u]tilizing advanced AI algorithms, we analyze your preferences, past

activities, and search patterns to suggest the outdoor experiences most exciting to you

and your family . . . making booking and buying the essentials for your outing faster and

more intuitive than ever before.” The Infringing Website also supposedly provided “real-

time information on weather conditions, trail updates, and even crowd sizes, helping you

make the most informed decisions” and gives consumers the ability to “[c]onnect with

fellow outdoor lovers, share experiences, and get inspired.” Further, the Infringing

Website also purports to offer travel booking services for outdoor experiences, retail

services for outdoor products, and location-based map services.

         23.   Indeed, as a simple search on the Infringing Website shows, the Infringing

Website returns content on outdoor experiences, travel planning, products and other

similar information. The offering of identical and/or highly similar services, under the

Infringing Domain Name that copies Outside’s OUTSIDE® mark verbatim, is likely to

mislead (and in fact, reportedly has misled) consumers that the Infringing Website is

Outside’s website or is otherwise affiliated with Outside, when it is not.

         24.   Defendants’ actions only enforce the improper association with Outside,

evidencing their willfulness in trading on Outside’s rights. The copyright notice on the

Infringing Website identified “Outside” as the owner of the website—not Bolin,

Outside.com, or any other third party:




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 Further still, searching the terms “outside” or “outside.com” in the search bar on the

 Infringing Website not only returned an article about planning outdoor experiences but

 also Outside’s stylized OUTSIDE® mark, which depiction hyperlinks to an article about

 Outside’s publication Outside and gives off the impression that outside.com is Outside’s

 website:




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          25.   Upon realizing Defendants’ intent to trade on Outside’s goodwill and use

 the resulting likelihood of confusion to extort Outside, as opposed to good faith

 negotiation, Outside wrote to Defendants through counsel on June 28, 2024 to advise

 Defendants of their unlawful and infringing acts and to seek a resolution short of litigation.

 Bolin, without copying Westlake Securities, responded later that day, indicating it would

 not entertain any such resolution. On July 15, 2024, counsel for Outside sent one more

 letter to Bolin in a final attempt to avoid litigation. As of the date of filing, neither of the

 Defendants have replied to the latest communication they received.

          26.   Rather, it appears that Defendants have escalated their unlawful conduct.

 Since sending the letter of July 15, 2024, the Infringing Website now features a “Partner

 With Us” page soliciting brand and affiliate partners. Notably, the notice identifying

 “Outside” as the owner of the Infringing Website was directly below the “Partner With Us”



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 hyperlink—a clear attempt at misleading potential partners seeking affiliate revenue into

 falsely believing they are doing business with Outside:




          27.   Then, in a gesture of defiance at the suggestion that extortion and unfair

 competition might be illegal, in or around the first week of August, 2024, Bolin updated

 the content of the Infringing Website. For example, the “About us” page referred to the

 operator of the site being “an American software company dedicated to unraveling the

 intricacies of God’s creation through the lens of advanced technology.” Among other

 things, the updated Infringing Website claims it offers a “Gardening and Plants Large

 Language Model (GPLLM)”—an enormous artificial intelligence system that advertises as




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 its value the ability of this AI to tell you when it is best to water your plants and which

 solutions help kill pests.

          28.     Nonetheless, a search for “Outside.com” has continued to return a

 description of Outside, a reference to Outside’s website, and a link to Outside’s website.

                                              Count I

                Cybersquatting in Violation of Section 43(d) of the Lanham Act
                                     (15 U.S.C. § 1125(d))
                             (Against Defendant Joshua Bolin)

          29.     Outside realleges and incorporates by reference each and every allegation

 contained in each of the preceding paragraphs of the Complaint with the same force and

 effect as if fully set forth at length herein.

          30.     Outside owns valid and protectable trademark rights in the mark

 OUTSIDE® and the OUTSIDE® Marks, including all common law rights and all rights,

 title, and interest in and to the Registrations.

          31.     Upon information and belief, following Outside’s registration with the U.S.

 Patent & Trademark Office of Outside’s OUTSIDE® Marks, Bolin registered, has sought

 to traffic in, and is using, without Outside’s consent or authorization, the confusingly

 similar domain name outside.com, which incorporates the mark OUTSIDE® in its entirety.

 The Infringing Domain Name uses the mark OUTSIDE® together with the generic term

 “.com” and is therefore highly similar—if not identical—in sight, sound, and commercial

 impression to the OUTSIDE® Marks.

          32.     The Infringing Domain Name resolves to the Infringing Website, which

 prominently features the mark OUTSIDE®, and is used by Bolin to sell, offer to sell,



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 market, and advertise services which are identical and/or highly similar to the services

 Outside offers in connection with the OUTSIDE® Marks.

          33.   Based on his own admissions, after the OUTSIDE® Marks became

 distinctive in the marketplace, Bolin registered, traffics in, and is using the Infringing

 Domain Name in bad faith, with an intent to profit from and capitalize on the longstanding

 goodwill and reputation associated with the OUTSIDE® Marks, including, but not limited

 to, by using the domain name with the intent of diverting Outside’s costumers to the

 Infringing Website and to extract an extortionate price from Outside to purchase the

 Infringing Domain Name.

          34.   Bolin’s acts constitute a violation of Section 43(d) of the Lanham Act, 15

 U.S.C. § 1125(d).

          35.   Bolin’s acts have caused, and unless restrained by this Court, will continue

 to cause, Outside to suffer damages and irreparable harm and injury, including to the

 goodwill, reputation, and business associated with the OUTSIDE® Marks, for which

 Outside has no adequate remedy at law.




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                                              Count II

    Trademark Infringement and Counterfeiting in Violation of Section 32(1) of the
                                   Lanham Act
                               (15 U.S.C. § 1114(1))
                        (Against Defendant Joshua Bolin)


          36.   Outside realleges and incorporates by reference each and every allegation

 contained in each of the preceding paragraphs of the Complaint with the same force and

 effect as if fully set forth at length herein.

          37.   Section 32(1)(a) of the Lanham Act, 15 U.S.C. § 1114(1)(a), prohibits any

 person from using in commerce, without the consent of the registrant:

                any reproduction, counterfeit, copy, or colorable imitation of a registered

                mark in connection with the sale, offering for sale, distribution, or advertising

                of any goods or services on or in connection with which such use is likely to

                cause confusion, or to cause mistake, or to deceive . . .

          38.   Outside exclusively owns valid, federally-registered trademark rights in the

 OUTSIDE® Marks.

          39.   Consumers readily identify services offered under the OUTSIDE® Marks as

 being of the highest quality, and emanating exclusively from, and being sponsored and

 approved by, Outside.

          40.   Outside has been using in commerce and obtained registrations for the

 OUTSIDE® Marks long before any infringing use by Bolin.

          41.   Bolin has intentionally used in commerce the marks OUTSIDE.COM and

 OUTSIDE (the “Infringing Marks”), which copy verbatim, incorporate in their entirety,



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 and/or are highly similar to Outside’s federally-registered OUTSIDE® Marks, in

 connection with the sale, offering, marketing, and advertising of services which are

 identical to the services offered by Outside in connection with the OUTSIDE® Marks,

 without Outside’s consent or authorization.

          42.   Bolin’s use of the Infringing Marks in commerce, including in the sale and

 offering of services in connection with the Infringing Marks, is likely to cause confusion

 and/or mistake in the minds of the public, leading the public to believe that Bolin’s services

 originate from Outside, or that Outside has approved, sponsored, or otherwise associated

 itself with Bolin or the services offered under the Infringing Marks, when it has not.

          43.   Bolin has infringed and continues to infringe Outside’s OUTSIDE® Marks

 with full knowledge of Outside’s exclusive rights in the OUTSIDE® Marks and with

 deliberate intention to cause mistake and confuse or deceive the general public as to the

 affiliation, connection, or association of Bolin, or its services, with Outside.

          44.   Bolin has infringed and continues to infringe Outside’s OUTSIDE® Marks

 with deliberate intent to benefit from the goodwill associated with the OUTSIDE® Marks.

          45.   Bolin’s actions constitute an infringement of Outside’s rights in the

 OUTSIDE® Marks in violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114(1).

          46.   Upon information and belief, Bolin has made and will continue to make

 substantial profits to which he is not entitled to in law or in equity as a result of his

 infringement and counterfeiting.




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          47.   Bolin’s infringing conduct has caused and, unless restrained by this Court,

 will continue to cause, irreparable harm, loss, and injury to Outside, for which Outside has

 no adequate remedy at law.

                                             Count III

 Unfair Competition and False Designation of Origin in Violation of Section 43(a) of
                                 the Lanham Act
                               (15 U.S.C. § 1125(a))
                        (Against Defendant Joshua Bolin)


          48.   Outside realleges and incorporates by reference each and every allegation

 contained in each of the preceding paragraphs of the Complaint with the same force and

 effect as if fully set forth at length herein.

          49.   Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), provides that:

                Any person who, on or in connection with any goods or services, . . . uses

                in commerce any word, term, name, symbol, or device, or any combination

                thereof, or any false designation of origin, false or misleading description of

                fact, or false or misleading representation of fact, which

                (1) is likely to cause confusion, or to cause mistake, or to deceive as to the

                affiliation, connection, or association of such person with another person, or

                as to the origin, sponsorship, or approval of his or her goods, services, or

                commercial activities by another person, or

                (2) in commercial advertising or promotion, misrepresents the nature,

                characteristics, qualities, or geographic origin of his or her or another

                person's goods, services, or commercial activities, . . .



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                shall be liable in a civil action by any person who believes that he or she is

                or is likely to be damaged by such act.

          50.   By making unauthorized use, in interstate commerce, of the Infringing

 Marks, Bolin has used a “false designation of origin” that is likely to cause confusion,

 mistake or deception as to the affiliation or connection of Bolin with Outside and as to the

 sponsorship or approval of Bolin’s services by Outside, in violation of Section 43(a) of the

 Lanham Act, 15 U.S.C. § 1125(a).

          51.   Bolin has used, in connection with its offering of services, false designations

 of origin and false and misleading descriptions and representations, including the

 Infringing Marks, which tend falsely to describe the origin, sponsorship, association, or

 approval by Outside of the services offered by Bolin.

          52.   Bolin’s offer of services under the Infringing Marks, which copy verbatim,

 incorporate entirely, and/or are highly similar to Outside’s preexisting OUTSIDE® Marks,

 causes confusion and mistake, deceives and misleads the purchasing public, trades upon

 Outside’s high-quality reputation, and improperly appropriates to Bolin the valuable

 trademark rights of Outside.

          53.   Bolin’s acts constitute the use in commerce of false designations of origin

 and false and/or misleading descriptions or representations, tending to describe and/or

 represent, in a false or misleading fashion, Bolin’s services as those of Outside in violation

 of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).




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          54.   Further, by virtue of capitalizing on the hard-earned goodwill of Outside and

 its brand, Bolin’s activities constitute unfair competition in violation of Section 43(a) of the

 Lanham Act, 15 U.S.C. § 1125(a).

          55.   Bolin’s wrongful acts will continue unless enjoined by this Court.

          56.   Bolin’s acts have caused and will continue to cause irreparable injury to

 Outside. Outside has no adequate remedy at law and is thus damaged in an amount not

 yet determined.

                                             Count IV

  Contributory Trademark Infringement in Violation of Section 32(1) of the Lanham
              Act, Section 43(a) of the Lanham Act, and Common Law
                         (15 U.S.C. §§ 1114(1) and 1125(a))
                   (Against Defendant Westlake Securities, LLC)

          57.   Outside realleges and incorporates by reference each and every allegation

 contained in each of the preceding paragraphs of the Complaint with the same force and

 effect as if fully set forth at length herein.

          58.   Bolin directly infringed the OUTSIDE® Marks in violation of Section 32(a) of

 the Lanham Act, 15 U.S.C. § 1114(1) and Section 43(a) of the Lanham Act, 15 U.S.C. §

 1125(a).

          59.   As detailed above, including via acting as Bolin’s agent for furthering his

 scheme to create an Infringing Website to use in competition with Outside unless Outside

 paid millions of dollars to buy the Infringing Domain Name, Westlake Securities facilitated

 and materially contributed to Bolin’s unauthorized use of the Infringing Marks in

 connection with the sale, offering, marketing, and advertising of services which are




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 identical to the services offered by Outside in connection with the OUTSIDE® Marks,

 without Outside’s consent.

          60.    Westlake Securities had actual and constructive knowledge of Bolin’s

 infringing activities. Westlake Securities enabled such activities, and facilitated and

 furthered the likelihood of and actual confusion that resulted therefrom.

          61.    Upon information and belief, Westlake Securities intentionally induced

 and/or encouraged Bolin to infringe on the OUTSIDE® Marks so that Defendants would

 have negotiating leverage in attempting to sell the Infringing Domain Name to Outside.

          62.    Upon information and belief, Westlake Securities has made and will

 continue to make substantial profits from the infringing use of the OUTSIDE® Marks, to

 which it is not entitled to in law or in equity

          63.    Westlake Securities’ activity has caused and, unless restrained by this

 Court, will continue to cause, irreparable harm, loss, and injury to Outside. Outside has

 no adequate remedy at law and is thus entitled to an injunction along with damages in an

 amount to be determined at trial.

                                       Jury Trial Demand

          Plaintiff requests a trial by jury on all issues so triable of right pursuant to Fed. R.

 Civ. P. 38.

                                        Prayer for Relief

 WHEREFORE, Plaintiff respectfully demands:

     A. That the Court find that Joshua Bolin has engaged in cybersquatting under federal

          law;



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     B. That the Court find that Joshua Bolin engaged in trademark infringement,

          trademark counterfeiting, false designation of origin, and unfair competition under

          state and federal law;

     C. That the Court find that Westlake Securities, LLC engaged in contributory

          trademark infringement under federal law;

     D. That the Court issue an injunction providing that, pursuant to 15 U.S.C. § 1116(a),

          Defendants and their agents, employees, representatives, partners, joint

          venturers, and/or anyone acting on behalf of or in concert with Defendants, jointly

          and severally, be enjoined through the world during the pendency of this action

          and permanently thereafter from:

              (i)    Using any reproduction, counterfeit, copy, or colorable imitation of Outside’s

                     OUTSIDE® Marks to identify any services not authorized by Outside;

              (ii)   Engaging in any course of conduct likely to cause confusion, deception, or

                     mistake, or to injure Outside’s business reputation;

          (iii)      Using a false description or representation including words, symbols, or

                     artwork tending falsely to describe or represent Bolin’s unauthorized

                     services as being those of Outside or sponsored by or associated with

                     Outside and from offering such services in commerce;

          (iv)       Further infringing the OUTSIDE® Marks by selling, marketing, offering for

                     sale, advertising, promoting, or otherwise offering of any services not

                     authorized by Outside under any simulation, reproduction, counterfeit, copy,

                     or colorable imitation of the OUTSIDE® Marks;



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              (v)   Using any simulation, reproduction, counterfeit, copy or colorable imitation

                    of the OUTSIDE® Marks in connection with the promotion, advertisement,

                    sale, offering for sale, or offering of any unauthorized services in such

                    fashion as to relate or connect, or tend to relate or connect, such services

                    in any way to Outside, or to any services sold, offered, sponsored, or

                    approved by, or connected with Outside;

          (vi)      Making any statement or representation whatsoever, or using any false

                    designation of origin or false description, or performing any act, which can

                    or is likely to lead the trade or public, or individual members thereof, to

                    believe that any services offered or sold by Defendant are in any manner

                    associated or connected with Outside, or are sold, offered, licensed,

                    sponsored, approved, or authorized by Outside;

          (vii)     Secreting, destroying, altering, removing, or otherwise dealing with any

                    books or records that contain any information relating to the selling,

                    marketing, offering for sale, advertising, or promoting of all unauthorized

                    services offered under the Infringing Marks; and

         (viii)     Effecting assignments or transfers, forming new entities or associations or

                    utilizing any other device for the purpose of circumventing or otherwise

                    avoiding the prohibitions set forth in subparagraphs (i) through (viii).

          B.        That an order be issued, pursuant to 15 U.S.C. §1125(d)(1)(C), that pending

 resolution of this matter, cease and desist from operating the Infringing Website, and

 Defendants provisionally transfer the Infringing Domain Name to Outside or, in the



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 alternative, be restricted from selling, transferring, or otherwise disposing of the Infringing

 Domain Name;

          C.   That an order be issued, pursuant to 15 U.S.C. §1125(d)(1)(C), directing

 Defendants to permanently cease and desist from operating the Infringing Website and,

 transfer the Infringing Domain Name to Outside and/or forfeit or cancel the Infringing

 Domain Name;

          D.   That the Court issue an order requiring Defendants to pay to Outside (i) all

 such actual damages and profits attributable to the cybersquatting committed by Bolin

 with respect to the Infringing Domain Name and those acting in concert with it in an

 amount to be proven at trial, trebled, as well as costs and attorney’s fees, pursuant to 15

 U.S.C. § 1117(a), or (ii) in the alternative, statutory damages pursuant to 15 U.S.C. §

 1117(d) of up to $100,000 for each domain name that Bolin has registered, trafficked in,

 and/or used in violation of 15 U.S.C. § 1125(d);

          E.   That an order be issued, pursuant to 15 U.S.C. § 1118, directing Defendants

 to deliver up for preservation, storage, and/or destruction to Outside or its designated

 agent all unauthorized products, if any exist, and all marketing, advertising, and

 promotional materials in its possession or under its control bearing the Infringing Marks,

 or any simulation, reproduction, counterfeit, copy, or colorable imitation of the OUTSIDE®

 Marks, and all articles by means of which such infringement occurred;

          F.   That an order be issued directing such other relief as the Court may deem

 appropriate to prevent the trade and public from deriving any erroneous impression that




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 any services sold or otherwise offered or promoted by Bolin are authorized by Outside or

 related in any way to Outside’s services;

          G.   That the Court issue an order requiring an accounting of all profits obtained

 by Defendants from Bolin’s offer of services under the Infringing Marks and an order that

 Defendants hold all such profits in a constructive trust for the benefit of Outside;

          H.   That the Court issue an order requiring Defendants to pay to Outside (i) all

 such actual damages and profits attributable to the infringements of the OUTSIDE®

 Marks by Bolin and those acting in concert with it in an amount to be proven at trial,

 trebled, as well as costs and attorney’s fees, pursuant to 15 U.S.C. § 1117(a), or (ii) in

 the alternative, statutory damages pursuant to 15 U.S.C. § 1117(c) of up to $2,000,000

 for each trademark that Bolin has counterfeited and infringed;

          I.   That the Court award prejudgment interest on all damages awarded by this

 Court; and

          J.   That the Court award such other and further relief as the Court deems just

 and proper.




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 DATED: August 14, 2024                   Respectfully submitted,

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